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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,            )
                                     )
               Plaintiff,            )       ORDER GRANTING MOTION TO AMEND
                                     )       RELEASE CONDITIONS
       vs.                           )
                                     )
Ronald Paul Yellow, Jr.,             )       Case No. 1:21-cr-235
                                     )
               Defendant.            )


       On April 26, 2023, the court issued an order releasing Defendant to the Hope and Healing

Addiction and Treatment Centers’ (“H&H”) inpatient treatment facility in Mesa, Arizona. (Doc. No.

178). On motion by Defendant, the court issued an order on June 16, 2023, that amended

Defendant’s release conditions to allow him to relocate to H&H’s Sterling House in Scottsdale,

Arizona, to continue his treatment. (Doc. No. 232). On motion by Defendant, the court issued an

order on September 18, 2023, that further amended Defendant’s release conditions to allow him to

transition out of Sterling House and into Plugged In’s facility in Chandler, Arizona, with the

understanding that he would regularly attend and fully participate in H&H outpatient treatment

programming. (Doc. No. 250).

       On October 27, 2023, Defendant filed a Motion to Amend Order Granting Release (Doc. No.

258). Defendant’s sentencing hearing was recently continued from November 16, 2023, until

December 20, 2023. Defendant requests that the court amend his release conditions to permit him

to reside at Blessed Builders in Bismarck, North Dakota, until his sentencing hearing.

       There being no objection from the United State, the court GRANTS Defendant’s motion

(Doc. No. 258). Upon completing H&H’s programming and returning to North Dakota, Defendant


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shall reside at Blessed Builder’s facility in the Bismarck, comply with all of its rules and regulations,

and participate in its programming. Defendant shall not change this residence without the prior

approval of the Pretrial Services Office. All other release conditions previously imposed on

Defendant by the court remain in effect.

        IT IS SO ORDERED.

        Dated this 14th day of November, 2023.

                                                /s/ Clare R. Hochhalter
                                                Clare R. Hochhalter, Magistrate Judge
                                                United States District Court




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